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 June 12, 2020

 By ECF

 Hon. A. Kathleen Tomlinson
 United States Magistrate Judge
 United States District Court
  for the Eastern District of New York
 Alfonse M. D’Amato Federal Building
 100 Federal Plaza
 Central Islip, NY 11722

 Re:     Joseph Jackson v. Nassau County et al., Docket No. 18-cv-3007 (JS) (AKT)
         Our File No.: 12473.00014

 Dear Judge Tomlinson:

 Wilson Elser represents the County Defendants in the referenced action. While depositions are
 stayed pending the Court’s decision on the motions to dismiss filed by the County Defendants
 and the Village Defendants, pursuant to Your Honor’s order limited documentary discovery is to
 proceed.

 In connection therewith, we are submitting the enclosed subpoena and request that it be So
 Ordered by the Court. The subpoena seeks, medical records, disciplinary records and visitation
 records concerning plaintiff Joseph Jackson from the Fishkill Correctional Facility.

 We emailed plaintiff’s counsel and the counsel for the Village of Freeport today with a copy of
 the subpoena and advised them we would be submitting this application. Counsel for plaintiff
 objected, and has asked us to advise the Court that they will be moving to quash and for a
 protective order. We did not hear from counsel for the Village of Freeport.

 Respectfully submitted,

 WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP

 /s/ Lalit K. Loomba

 Lalit K. Loomba
 Attachment
 Cc: Counsel of Record (via ECF)




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